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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

________________________________
                                             )
SAMANTHA ELIZABETH BRAGG,                    )
                                             )
             Plaintiff,                      )
                                             )
        v.                                   )       Civil Action No. 20-213 (EGS)
                                             )
CENTRAL INTELLIGENCE AGENCY,                 )
                                             )
          Defendant.                         )
________________________________             )


                                 MEMORANDUM OPINION

       Plaintiff filed this action under the Freedom of Information Act (“FOIA”), seeking

records from the Central Intelligence Agency. Pending before the Court is Defendant’s Motion

to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), ECF No. 8. For the following

reasons, the motion will be granted.

       Defendant contends that Plaintiff failed to exhaust her administrative remedies before

filing this lawsuit, which “can be a substantive ground for rejecting a FOIA claim in litigation.”

Bayala v. United States Dep't of Homeland Sec., Office of Gen. Counsel, 827 F.3d 31, 35 (D.C.

Cir. 2016). Plaintiff, who is appearing pro se, has not complied with the Court’s Order to

respond to Defendant’s motion by June 1, 2020, ECF No. 9, nor has she requested additional

time to comply. As stated in the Order, the Court therefore finds that Plaintiff has conceded

Defendant’s exhaustion defense and grants its motion to dismiss. A separate order accompanies

this Memorandum Opinion.



                                              SIGNED:  EMMET G. SULLIVAN
                                              UNITED STATES DISTRICT JUDGE
Date: October 5, 2020
